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AO 472 (Rev. 6/05) Order of Detention Pending Trial


                                                  United States District Court
                                                      Eastern District of Michigan

United States of America                                          ORDER OF DETENTION PENDING TRIAL
       v.
Kenneth Maxwell                                   /               Case Number: 05-80972
                  Defendant

         In accordance with the Bail Reform Act, 18 U.S.C. §3142(f), a detention hearing has been held. I conclude that the following
facts require the detention of the defendant pending trial in this case.

                                                       Part I – Findings of Fact
       T (1) I find that:
                  T there is probable cause to believe that the defendant has committed an offense
                  T for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 841 or 846;
                  “ under 18 U.S.C. § 924(c).

     T (2) I further find that the defendant has not rebutted the presumption established by finding that no condition or combination
of conditions will reasonably assure the appearance of the defendant as required and the safety of the community.

                                                         Alternative Findings
          T I find that the government has established by a preponderance of the evidence that there is a serious risk that the defendant
will not appear.

         “ I find that the government has established by clear and convincing evidence that there is a serious risk that the defendant
will endanger the safety of another person or the community.

                                           Part II – Written Statement of Reasons for Detention
           I find that the credible testimony and information submitted at the hearing established the following factors under 18 U.S.C. §
3142(g):
                     T (a) nature of the offense - Drug distribution conspiracy involving more than 5 kilograms of cocaine. Mandatory
                              minimum sentence is 10 years.
                     T (b) weight of the evidence - Indictment, probable cause is established.
                     T (c) history and characteristics of the defendant -
                              T 1) physical and mental condition - Admitted drug user, despite probation.
                              T 2) employment, financial, family ties - Questionable employment and residential history.
                              T 3) criminal history and record of appearance - Two prior drug related felonies, the last occurring in June,
                                       2005.
                     T (d) probation, parole or bond at time of the alleged offense
                     “ (e) danger to another person or community. -

                     Pretrial Services recommends detention. Arresting agents report difficulty locating defendant, and family contacts
                     not supportive of defendant’s statements to Pretrial.

                                                Part III – Directions Regarding Detention
         The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a
corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of
the United States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the
defendant to the United States Marshal for the purpose of an appearance in connection with a court proceeding.

            November 17, 2005                                     s/Donald A. Scheer
               Date                                                                Signature of Judge
                                                                  Donald A. Scheer, United States Magistrate Judge
                                                                               Name and Title of Judge
